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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
RPAI WORCESTER LINCOLN                     )
PLAZA, L.L.C.,                             )
                                           )
                        Plaintiff,         )
                                           )  C.A. NO.: 4:20-cv-40143-TSH
v.                                         )
                                           )
DICK’S SPORTING GOODS, INC.,               )
                                           )
                        Defendant.         )
__________________________________________)

                     DEFENDANT DICK’S SPORTING GOODS, INC.’S
                    ANSWER TO COMPLAINT AND COUNTERCLAIM

       Dick’s Sporting Goods, Inc. (“DSG”), for its Answer to the Complaint filed by RPAI

Worcester Lincoln Plaza, L.L.C. (“Landlord”), answers as follows. Any allegation in the

Complaint not specifically admitted herein is denied.

       1.       On information and belief, DSG admits the allegations of paragraph 1.

       2.       DSG denies the allegations of paragraph 2 regarding its corporate office. DSG’s

principal place of business is 345 Court St, Coraopolis, Pennsylvania 15108.

       3.       Paragraph 3 states a conclusion of law to which no response is required. To the

extent a response is required, DSG denies the allegations of Paragraph 3.

       4.       DSG admits that it operates a retail store that sells sporting goods and similar

merchandise it Worcester, Massachusetts. DSG denies that Landlord has any claims under the

Lease and denies the remaining allegations of paragraph 4.

       5.       Paragraph 5 states a conclusion of law to which no response is required. To the

extent a response is required, DSG denies the allegations of Paragraph 5.

       6.       Admitted.
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        7.        DSG admits that the quoted language is a partial excerpt of Section 17.3, with

emphasis added by Landlord. DSG denies that this paragraph includes the complete language of

Section 17.3, which language speaks for itself.

        8.        DSG incorporates its responses to paragraphs 1 through 7 above as if fully set

forth herein.

        9.        DSG admits that Exhibit B is a copy of a letter sent by DSG, dated May 19, 2020.

DSG denies that paragraph 9 accurately summarizes the contents of that letter, which speaks for

itself, and denies that the letter is relevant to this action. Furthermore, other leases are irrelevant

to this action.

        10.       DSG denies the allegations of paragraph 10 on the ground that DSG has not taken

that position with respect to this dispute.

        11.       DSG admits that Exhibits C contains correspondence received by DSG. DSG

denies that the contents of that correspondence are accurate, denies that DSG owed additional

amounts, and denies that it was in default. DSG denies the remaining allegations of paragraph

11 on this basis.

        12.       DSG admits that it received the letter attached to the Complaint as Exhibit D.

DSG denies that the contents of that correspondence are accurate, denies that DSG owed

additional amounts, and denies that it was in default. DSG denies the remaining allegations of

paragraph 12 on this basis.

        13.       DSG admits that it was able to reopen its store to customers on June 8, 2020,

pursuant to all applicable mandates and precautions. DSG denies the remaining allegations of

paragraph 13.

        14.       Denied.




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       15.      DSG denies the allegations of paragraph 15 on the ground that DSG has not taken

that position with respect to this dispute. DSG further denies that Landlord is entitled to any of

the relief sought in the paragraph following paragraph 15.

       16.      DSG incorporates its responses to paragraphs 1 through 15 above as if fully set

forth herein.

       17.      Denied.

       18.      DSG admits that RPAI has made a demand but denies that the amounts are owed.

DSG denies the remaining allegations of paragraph 18.

       19.      Denied. DSG further denies that Landlord is entitled to any of the relief sought in

the paragraph following paragraph 19.

                                       GENERAL DENIAL

       DSG denies any remaining allegations not expressly admitted herein. DSG expressly

reserves the right to amend and/or supplement its answer.

                                      PRAYER FOR RELIEF

       DSG denies that Landlord is entitled to the relief requested in its prayer for relief, or to

any relief whatsoever. DSG requests that the Court dismiss the Complaint with prejudice and

that Landlord take nothing thereby.

                                   AFFIRMATIVE DEFENSES

       DSG asserts the following affirmative defenses. By stating the following defenses, DSG

does not assert or admit that any of Landlord’s allegations are true, or that DSG bears the burden

of proving a particular defense.

       1.       Landlord fails to state a cause of action upon which relief can be granted.

       2.       Landlord’s claims are barred by the doctrines of estoppel and waiver.




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       3.       Landlord’s claims are barred by specific provisions in the Lease, including

Section 17.16, which provides for the equitable abatement of Rent if DSG’s use and enjoyment

of the Demised Premises is deprived or impaired for any reason, as well as Section 2.6 of the

Lease, which provides, in part, for the right to abate Rent where DSG is unable to operate at the

Demised Premises consistent with legal mandates, rules, and regulations.

       4.       Landlord’s claims are barred by Landlord’s own unclean hands.

       5.       Landlord’s claims are barred by Landlord’s breach of its own obligations under

the Lease.

       6.       For the period of DSG’s closure during the COVID-19 pandemic, DSG’s payment

of Rent was excused pursuant to the doctrines of frustration of purpose and impossibility.

            RESERVATION OF RIGHTS TO ASSERT ADDITIONAL DEFENSES

       The Complaint does not describe the claims alleged against DSG with sufficient

particularity to enable DSG to determine all defenses it has to the count alleged in the Complaint.

DSG has not knowingly or intentionally waived any applicable defenses, and reserves the right

to assert and rely upon any other applicable defenses that may become available or apparent

during the course of this dispute. DSG therefore reserves the right to assert additional defenses

that may be pertinent to the Complaint once the precise nature of each claim is ascertained

through discovery and investigation.

                                       COUNTERCLAIM


       DSG, for its Counterclaims against Landlord, states and alleges:

       1.       This dispute concerns whether DSG is entitled to invoke express rights
concerning Rent under its retail lease. Landlord demands that DSG pay amounts that are not
owed under the lease.



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       2.       DSG and Landlord are parties to a lease, dated January 2, 2001 (as amended, the

“Lease”), pursuant to which DSG leases certain premises (“Demised Premises”) at a shopping
center known as Lincoln Plaza (“Shopping Center”) in Worcester, Massachusetts. A true and
accurate copy of the Lease is attached to the Complaint in this matter.
       3.       The purpose of the Lease is for Landlord to provide DSG space to operate a retail
sporting goods store open to the public, in a retail shopping center operating as an ongoing
concern, in exchange for which DSG would make Lease payments to Landlord.
       4.       Essential to that purpose is Landlord’s provision of space to DSG in which to

conduct in-store retail transactions.
       5.       Reflecting the intent of the Lease, DSG operates a sporting goods store in the
Demised Premises.
       6.       In response to the COVID-19 pandemic and related state orders and mandates,
and in concern for the safety and health of employees, customers, and the general public, DSG
was forced to close to the public beginning in March 2020. DSG was closed from March 19,
2020 through June 7, 2020. As a result, DSG’s obligations to pay Rent were reduced or wholly
abated over the course of months for a number of reasons:
                (a)    Section 17.16 provides that if for “any” reason, Tenant shall be “deprived
                       of or impaired in the use and enjoyment of the Demised Premises and
                       Common Areas as herein provided, the Rent to be paid by Tenant shall be
                       equitably abated” during any such period;
                (b)    Similarly, Section 2.6(b) allows DSG to abate Rent “if at any time the
                       applicable zoning shall not permit the retail sale of any and all types of
                       wearing apparel or sporting goods in the Demised Premises”; and
                (c)    The purpose of the Lease—to operate a retail sporting goods store open to
                       the public in a retail shopping center operating as an ongoing concern and
                       capable of supporting in-store transactions—was frustrated.

       7.       Contrary to Landlord’s assertions, DSG has paid all amounts actually due pursuant
to the Lease.
       8.       DSG respectfully seeks a declaration of its rights under the Lease, including a
declaration that:




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                (a)    Pursuant to Sections 17.16 and/or Sections 2.6, DSG’s obligations to pay
                       rent were abated during its closure due to the COVID-19 pandemic;
                (b)    The purpose of the Lease was frustrated during DSG’s closure; and
                (c)    DSG is not in default under the Lease.

       9.       DSG also seeks damages, including a refund of $35,907.99 for the proportionate

share of Rent it paid for the portion of March and June DSG was closed, and all other remedies
available under law and the Lease, including attorneys’ fees and costs.
                                  FACTUAL ALLEGATIONS

I.     The Relationship Between DSG and Landlord is Governed by the Terms of the
       Lease, as Amended.
       10.      The parties entered into a Lease for the Demised Premises on or about January 2,
2001. The Lease reflected the arm’s length negotiation between the parties.
       11.      The Lease has been amended by a First Lease Amendment dated as of May 1,
2003, a Second Lease Amendment dated as of June 24, 2004, and a Third Amendment of Lease
dated as of June 30, 2017.

II.    DSG Was Forced to Close Due to the COVID-19 Pandemic and Related
       Governmental Mandates.
       12.      Beginning March 19, 2020, DSG’s store at the Shopping Center was closed due to
various issues beyond DSG’s control related to the COVID-19 pandemic, including the national
emergency announced by the federal government, the mandates and recommendations of various
governmental authorities and the U.S. Centers for Disease Control and Prevention, the interest of
the public health and DSG’s customers and employees, the language of the Lease, and conditions
and operations at DSG’s store and the Shopping Center.
       13.      DSG remained closed until June 8, 2020. Between March 19, 2020 and June 7,
2020, DSG was unable to operate its retail business at the Demised Premises. DSG could not
invite the public into its store and DSG could not effectuate sales through in-store transactions.
       14.      Massachusetts Governor Charlie Baker issued a series of Orders in the wake of
the COVID-19 pandemic, including but not limited to Order Number 13 (as subsequently




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extended, collectively, the “Stay at Home Orders”), which prohibited Tenant from conducting its

regular retail operations at the Demised Premises.

III.   DSG’s Obligation to Pay Rent Was Abated for the Duration of Its Closure Due to
       the COVID-19 Pandemic and Related Governmental Mandates.
       15.     Due to the COVID-19 pandemic, DSG was involuntarily prevented from
conducting its normal, in-store retail operations in the Demised Premises from March 19, 2020
until it was able to reopen on June 8, 2020. Pursuant to the Lease, DSG was entitled to abate all
forms of rent for the entire period it was closed due to circumstances surrounding the COVID-19
pandemic.
       16.     Section 17.16 provides that, if for any reason DSG is impaired in or deprived of
the use and enjoyment of the Demised Premises, DSG’s rent obligations are equitably abated.

Section 17.16 states:


               If at any time there is a breach or default of any of Landlord’s
               representation, warranties or agreements under this Section 17.16
               with results in deprivation or impairment in any material respect in
               the use and enjoyment of the Demised Premises, or if, for any
               other reason, Tenant shall be deprived of or impaired in the
               use and enjoyment of the Demised Premises and Common
               Areas as herein provided, the Rent to be paid by Tenant shall
               be equitably abated during any such period.

(Emphasis added.) Here, for the entire period of DSG’s closure, it was deprived of (and
impaired in) its use and enjoyment of the Demised Premises and the Common Areas of the
Shopping Center. Accordingly, DSG was entitled to an equitable abatement of Rent.
       17.     Additionally, Section 2.6(b) provides that if any applicable law prohibits DSG
from selling its merchandise inside the Demised Premises, DSG is likewise entitled to an
abatement of Rent. Specifically, DSG is entitled to abatement of Rent “if at any time the
applicable zoning shall not permit the retail sale of any and all types of wearing apparel or
sporting goods in the Demised Premises.”




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       18.     DSG was unable to carry out its retail operations selling such items in the

Demised Premises consistent with current laws and guidelines, including the Stay at Home
Orders. Accordingly, DSG was entitled to an abatement of Rent while it was required to close
pursuant to “applicable laws.”

IV.    The Purpose of the Lease Was Also Frustrated During DSG’s Closure.
       19.     Landlord also admits that amounts due under the Lease were “in exchange for the
use and occupancy of the Premises as provided for in the Lease.” The purpose of the Lease was
that, in exchange for rent, the tenant would be entitled to operate a sporting goods store, open to
the public, while the Shopping Center was likewise fully operational and capable of supporting
the tenant’s operations. That purpose was frustrated during DSG’s closure.
       20.     In addition to the terms set forth above, numerous provisions confirm that DSG’s
rent obligations were in exchange for, and conditioned upon, the availability of the Demised
Premises for DSG’s retail business purposes, and suitability of the Demised Premises to support
those purposes in an ongoing retail Shopping Center operation. This was DSG’s purpose in
entering into the Lease.
       21.     For example, in Section 2.6(b), Landlord represents on delivery “the use of the

Shopping Center, including the Demised Premises, for retail stores, the Tenant Service Area, the
Service Drive and Parking Areas in connection therewith, shall be in material compliance with

all laws, ordinances and regulations of public authorities.”
       22.     Section 16.4 states that “Landlord agrees that the Demised Premises shall not be
restricted during the term of this Lease from the sale of sporting goods and sporting equipment,
apparel or athletic footwear.”
       23.     Under Sections 2.6 and 17.16, Landlord makes several representations regarding
the tenant’s ability to use the Demised Premises, as well as enjoy its rights regarding the rest of
the Shopping Center.
       24.     Other provisions, including Section 1.4, also establish the parties’ intent that the
rest of the Shopping Center would be continuously operated as a retail shopping center. Pursuant




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to Sections 14.1 and 14.2 of the Lease, Landlord also represents that it will operate the

“Common Areas” of the Shopping Center consistent with retail use, and that DSG will enjoy use
of that Common Areas, together with the other tenants and Landlord.
        25.       During DSG’s closure, the purpose of the Lease was destroyed. As a non-
essential retail business, and in the interest of the safety of DSG’s associates, customers, and the
public, DSG was prevented from carrying out the operations intended under the Lease.
        26.       DSG has attempted to engage with Landlord in the pursuit of a resolution, but
such discussions have proved unsuccessful. DSG is thus filing this action to seek a declaration

of its rights under the Lease in light of Landlord’s ongoing demand for payment of Rent not
owed pursuant to the Lease.
        27.       DSG was able to open to the public, while carefully observing all mandated safety
and health precautions, on June 8, 2020. However, because DSG had already paid full Rent for
March, DSG is entitled to a refund of $35,907.99, representing the proportionate Rent for days it
was closed in March and June 2020.
                                        CAUSES OF ACTION
                                               COUNT I
                                  Declaratory Judgment – Abatement
        28.       The allegations set forth above are hereby incorporated as if they were restated in
their entirety.
        29.       A current, ripe and justiciable dispute and controversy exists between the parties
and is fully susceptible to judicial resolution. This Court’s entry of a declaratory judgment will
terminate the uncertainty and controversy that give rise to this action.
        30.       As set forth above, under the Lease, DSG was entitled to an abatement of Rent
pursuant to at least Sections 17.16 and 2.6 of the Lease.
        31.       Therefore, it is just and appropriate that the Court enter a judgment declaring that:
              a. From March 19, 2020 until its reopening on June 8, 2020, DSG was not obligated
                  to pay Rent under the Lease pursuant to Sections 17.16 and 2.6 of the Lease;




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              b. Accordingly, DSG was never in default under the Lease; and

              c. DSG is entitled to recover at least $35,907.99, representing the proportionate Rent
                  for days it was closed in March and June 2020.
                                              COUNT II
                            Declaratory Judgment – Frustration of Purpose
        32.       The allegations set forth above are hereby incorporated as if they were restated in
their entirety.
        33.       A current, ripe and justiciable dispute and controversy exists between the parties

and is fully susceptible to judicial resolution. This Court’s entry of a declaratory judgment will
terminate the uncertainty and controversy that give rise to this action.
        34.       As set forth above, under the Lease, DSG’s principal purpose in entering into the
Lease was for the availability of the Demised Premises for DSG’s retail purposes, and suitability
of the Demised Premises and Shopping Center to support those uses in an ongoing Shopping
Center operation.
        35.       This purpose was frustrated by the events surrounding the COVID-19 pandemic.
The frustration was substantial.
        36.       It was a basic assumption of the parties at the time they entered into the contract
that these events would not occur.
        37.       The frustration of purpose was not the fault of DSG.
        38.       Therefore, it is just and appropriate that the Court enter a judgment declaring that:
              a. From March 19, 2020 until its reopening on June 8, 2020, DSG was not obligated
                  to pay Rent under the Lease because DSG’s purpose was frustrated;
              b. Accordingly, DSG was never in default under the Lease; and
              c. DSG is entitled to recover at least $35,907.99, representing the proportionate Rent
                  for days it was closed in March and June 2020.




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                                             COUNT III

                                          Breach of Contract
        39.       The allegations set forth above are hereby incorporated as if they were restated in
their entirety.
        40.       The Lease constitutes a valid agreement between DSG and Landlord, supported
by mutual and adequate consideration.
        41.       As set forth above, Landlord has breached its obligations under the Lease,
because, among other things, it: (1) has not provided Premises that are suitable for, and a

Shopping Center capable of supporting, DSG’s intended use; (2) it has demanded payment of
Rent to which it is not entitled under the Lease; and (3) it has failed to return overpayments
under the Lease.
        42.       DSG has performed all conditions, covenants, and promises required and in
accordance with the terms and conditions of the Lease (or those conditions have otherwise been
fulfilled or waived).
        43.       As a direct and proximate result of Landlord’s breaches, DSG has suffered harm,
including the overpayment of at least $35,907.99.
                                              COUNT IV
                                 Return of Money Had and Received
        44.       The allegations set forth above are hereby incorporated as if they were restated in
their entirety.
        45.       DSG has overpaid to Landlord, for Rents not due, $35,907.99.
        46.       These amounts belong to DSG. Landlord acted inequitably, including by
(a) overcharging DSG for Rent not owed; and (b) failing to reimburse those amounts.
        47.       Under the circumstances, in equity and good conscience, Landlord should not be
permitted to retain the amounts of overpayment, and instead should be required to return such
amounts to DSG.




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                                              COUNT V

                                       Award of Attorneys’ Fees
        48.       The allegations set forth above are hereby incorporated as if they were restated in
their entirety.
        49.       As provided in Section 17.18 of the Lease, the prevailing party in any legal
proceeding between DSG and Landlord shall be entitled to recover its reasonable attorneys’ fees.
        50.       DSG had to retain legal counsel to respond to Landlord’s initiation of legal
proceedings and has therefore incurred legal fees.

        51.       Pursuant to 17.17 of the Lease, in the event DSG is the prevailing party in this
action, it shall be entitled to recover from Landlord the legal fees it has incurred and will
continue to incur in connection with this proceeding.
        WHEREFORE, DSG respectfully requests (a) entry of a Declaratory Judgment in its
favor; (b) entry of a Judgment for monetary damages in its favor; (c) an award of attorneys’ fees,
costs and expenses, and interest in favor of DSG, including pursuant to Section 17.17 of the
Lease; and (d) such other and further relief as this Court deems just and proper.




Dated: November 18, 2020                        Respectfully submitted,

                                                DICK’S SPORTING GOODS, INC.
                                                By its attorneys,
                                                /s/ Stephen D. Riden
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                                 CERTIFICATE OF SERVICE

        I, Stephen D. Riden, hereby certify that the documents filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on
November 18, 2020.


                                                              Respectfully submitted,

                                                              /s/ Stephen D. Riden




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